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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     NORTHERN DIVISION

UNITED STATES OF AMERICA.

        Plaintiff,                                                  Case No. 18–20242

v.                                                                  Honorable Thomas L. Ludington
                                                                    Magistrate Judge Patricia T. Morris
WILLIAM E. PUTMAN, II

      Defendant.
_________________________________/

ORDER DENYING MOTION FOR RETURN OF PROPERTY WITHOUT PREJUDICE,
     TAKING MOTION FOR JOINDER AND MOTION IN LIMINE UNDER
             ADVISEMENT, AND DIRECTING RESPONSES

        Defendant William Putman operates a firearms business in Caro, MI, which holds a

Federal Firearms License (FFL). His son, Defendant Brandon Putman, is also affiliated with the

business. Defendants live in a shared residence along with twenty–six family members.

        According to the Affidavit of ATF Agent Stephen Ross (Agent Ross) in mid–November

2017, Brandon Putman went to Progressive Tool and Machinery in Elkton, MI and asked the

shop owner if he could make 10 duplicates of a specific part, which the shop owner suspected to

be a drop in–auto sear (“DIAS” or “auto–sear”)1. Ex. 1 at pg. 18–31 (Ross Aff. ISO Warrant).

The shop owner then contacted ATF. Id. Agent Ross met with the shop owner in December,

2017, and the shop owner gave Agent Ross the part in question. Id. The part was submitted to the

ATF Firearms Technology branch for testing, which confirmed that the part was a DIAS. Ex. 2

at pg. 2 (Report of Technical Examination). The shop owner gave ATF Brandon Putman’s

contact information. An undercover ATF Agent, posing as a machinist at the shop, contacted


1
  A drop-in auto sear (DIAS) is a device which, when combined with other fire-control parts, can convert a semi-
automatic AR-15 to fully automatic. Although a DIAS is in actuality a gun part and not a gun itself, a DIAS is
legally considered a “machine gun” under 26 U.S.C. §5845(b).
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Brandon Putman and had several discussions with him concerning the part he wanted duplicated

and the price per duplicate of $100.2 Ex. 2 at pg. 74–75, 105–115. (Investigation Reports –

Undercover Contacts).

        Based on this information, ATF obtained a search warrant for the Putman residence (the

former residence). Ex. 1 at pg. 17, 32. The search warrant was executed on February 15, 2018 at

9:50am. Ex. 1 at pg. 56. Contemporaneously, another search warrant was executed at the

Putman’s new residence which was then under construction (the new residence). Ex. 1 at pg. 54.

During the search of the former residence, ATF agents seized “one (1) Ruger, Model AR–556,

multi–caliber rifle, serial number 850–7162” (the AR–15) which they found in William

Putman’s bedroom closet. Ex. 1 at pg. 56. Nothing was seized during the search of the new

residence, although Brandon’s phone was seized from his person during a search incident to

arrest. Ex. 1 at pg. 55.

        Based on the information provided during the September 7 hearing, it appears that the

AR–15 was “functions checked” without ammunition on the day of the search (February 15) and

the AR–15 tested as fully automatic without the addition of an auto–sear. The AR–15 was

“functions checked”3 again shortly thereafter at the ATF Flint office, with the addition of the

DIAS Brandon is charged with possessing. ATF confirmed that the DIAS fit into/onto the AR–

15, but it does not appear that the weapon was fired at that time. The record contains a Firearms

Technology Criminal Branch Report of Technical Examination dated April 10, 2018. Ex. 1. at

pg. 1–5. It appears this is the only report regarding testing of the AR-15. The examination was

2
  According to ATF, a registered, lawfully obtained DIAS would cost approximately $40,000. The government
contends that Brandon Putman was attempting to cheaply obtain these DIAS duplicates. The original DIAS he
brought to the machine shop was itself unregistered and did not contain a serial number. According to ATF, neither
Brandon, William, nor Kacie Putman have a DIAS registered in their name or registered to Ephesians 610 LLC.
3
  It is not entirely clear, but this functions check was apparently also done without ammunition. It remains unclear
what technically constitutes a “functions check” and how the weapon could have tested as an automatic weapon
without firing live ammunition.
                                                       -2-
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conducted in Martinsburg, West Virginia. The report reflects that the AR–15 used an M–16 bolt

carrier, and that “the following M–16 machinegun fire control components have been installed:

hammer, disconnector, trigger, and selector.” Id. at pg. 3. The report reflects that, with the

selector in the “determined Automatic position,” the AR–15 expelled more than one round by a

single function of the trigger. Id. at pg. 4. Accordingly, ATF determined that the AR–15 was a

“machinegun” as defined in 26 U.S.C. 5845(a). The report does not indicate that an auto–sear

was used in the test. It is unclear when, if at all, the AR–15 was test fired with the addition of an

auto–sear.4 If such a test was performed, the report of that test was not included in the

information furnished by the government.

        During the search of the former Putman residence, Agent Jakubowski interviewed

William Putman regarding the AR–15 found in his closet, and he explained that it was a gift

from Brandon and that Brandon “tinkers” with firearms. Ex. 1 at pg. 35. The statement in Agent

Jakubowski’s report differs from the statement offered by Agent Ross during his grand jury

testimony. See Ex. 3 at pg. 46; Ex. 4 at pg. 53. According to the government’s latest brief (filed

Sept. 4), Agent Ross was not present at the interview. Thus, in his testimony to the grand jury he

was apparently offering a second–hand account of the statement. The government indicates that

only Agent Jakubowski will testify concerning the statement William Putman made. His account

of that statement is memorialized in his report. Ex. 1 at pg. 35.

        On the morning of February 15, 2018, at 11:50am, ATF Agents executed a consent

search of the Putman Family firearm business in Caro, MI. Ex. 1 at pg. 59. Six silencers were




4
 The government explained that the fire-control components installed in the AR-15 (hammer, disconnector, trigger,
and selector) rendered it an automatic weapon without the addition of an auto-sear, although those fire control
components alone would not be particularly reliable. With the addition of the auto-sear, the AR-15 would be capable
of expelling an entire magazine with a single function of the trigger.
                                                       -3-
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seized during the search.5 Id. According to the government’s supplemental brief, during the

consent search of the business William Putman stated that he was not sure how Brandon would

have gotten “the money,” considering all expenses had to be approved by the family. Agent

Jakubowski understood the statement to be in reference to the $1,000 for the 10 DIAS copies.

         On February 28, 2018, an Indictment was returned charging Defendant Brandon Putman

with one count of knowingly possessing a firearm not registered to him in the National Firearms

Registry and Transfer Record, specifically a drop in auto sear (DIAS), which is a machinegun

under 26 U.S.C. §5845(b), in violation of 26 U.S.C. §5861(d). On April 11, 2018, a superseding

indictment was returned charging Defendant Brandon Putman with one count of receiving a

firearm (DIAS) made in violation of the law, pursuant to 26 U.S.C. §5861(c), one count of

knowingly possessing a firearm not registered to him (DIAS) in violation of 26 U.S.C. §5861(d),

and one count of knowingly possessing a firearm (DIAS) without a serial number, in violation of

26 U.S.C. §5861(i).

        On April 11, 2018, an Indictment was returned charging Defendant William Putman, II,

with knowingly possessing a firearm not registered to him, specifically, an AR–15 converted to

function in fully automatic mode, which is a machine gun under 26 U.S.C. §5848(b), in violation

of 26 U.S.C. §5861(d). On July 10, 2018, Defendants filed a motion for joinder. Defendants also

filed a motion for return of property (the silencers) as well as a motion in limine to exclude any

evidence related to the silencers.

        On April 30, 2018, Defendant William Putman was in attendance at Brandon Putman’s

arraignment. At the arraignment, Defendant William Putman was presented with his indictment,

after which he allegedly approached Agents Jakubowski and Ross. During his conversation with

5
 An additional search warrant was executed at the new residence on March 6, 2018, though no evidence was seized.
Ex. 1 at pg. 65.
                                                     -4-
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the Agents, he allegedly stated that the reason Brandon “was attempting to manufacture multiple

Drop–In Auto Sears (DIAS) for AR–15s was to start a family business.” Ex. 1 at pg. 61

(Investigation Report – Spontaneous Utterance).

                                                I.

       Pursuant to Federal Rule of Criminal Procedure 13, the Court may order a joint trial of

separate cases if all offenses and all defendants could have been joined in a single indictment or

information. Federal Rule of Criminal Procedure 8(b) provides that joinder of defendants is

permissible if they are alleged to have participated in the same act or transaction, or in the same

series of acts or transactions, constituting an offense or offenses. Whether to consolidate a

criminal trial is a matter within the court’s discretion. United States v. Halper, 590 F.2d 422 (2d

Cir. 1978). A joint trial of multiple defendants is appropriate only if “a sufficient nexus exists

between the defendants and the single or multiple acts or transactions charged as offenses.”

United States v. Johnson, 763 F.2d 773, 775 (6th Cir. 1985).

                                                A.

       Here, a sufficient nexus exists between the facts giving rise to the criminal charges in

these two cases. In the government’s initial response to the motion for joinder, the government

contended that the only similarity between the cases was the fact that the AR–15 (for which

William is charged) was found during a search warrant obtained as a result of the investigation

into Brandon Putman’s DIAS. Resp. at 3, ECF No. 14 (Case No. 18–20242). The government

further stated that the “drop–in auto sear that is the basis of the charges against Brandon Putman

was not used to convert into a machinegun the AR–15 that is the basis of the charge against

William Putman.” Id. More recently, however, the Government has argued as follows:

       The government’s evidence will show that Brandon Putman had modified the AR
       15 possessed by William Putman II, and that the AR 15 had been modified to
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         accept an auto sear like the one that Brandon Putman is charged with possessing.
         The government’s evidence in Brandon Putman’s case will show that Brandon
         Putman attempted to have his illegal auto sear replicated so he could convert
         semi–automatic firearms, like the AR 15 he gave to his father, into unregistered
         fully automatic weapons, known in common parlance as machineguns

Supp. Br. at 3–4, ECF No. 35 (Case No. 18–20133) (emphasis added). Moreover, Agent Ross

offered the following testimony to the grand jury concerning the DIAS Brandon brought to the

machine shop:

                  Q: Anyway so you went to the machine shop got the auto sear and what
                  did you do with it after that?
                  A: What I did is I took the auto sear into our custody and we actually,
                  ATF has a Firearms and Technology Branch . . . and they specialize in
                  determining exactly what this is, so what I did is I sent it off to them.
                  Q: And it’s your understanding I assume and correct me if I’m wrong that
                  they actually took that part and put it in an AR–15 along with a few other
                  parts and guess what happened found it worked fully automatic?
                  A: That is correct.
                  ...
                  THE WITNESS: . . . We discovered, it was in his father’s room it was an
                  AR–15 that, we mentioned the components, different components, it had
                  all those components in there and it test fired as a fully automatic. We
                  were able, then we got back to the office, we seized it took it back to our
                  office and we actually put the auto sear back in, it fit perfectly on it. And it
                  had scratch marks we believe, we believe that that’s where the AR, the
                  auto sear went.

Ex. 4 at pg. 44, 53 (emphasis added).6 In sum, according to the government, Brandon modified

William’s AR–15 to accept an auto sear like the one Brandon Putman is charged with


6
  Federal Rule of Criminal Procedure 6(e)(6) provides that “records, orders, and subpoenas relating to grand-jury
proceedings must be kept under seal to the extent and as long as necessary to prevent the unauthorized disclosure of
a matter occurring before a grand jury.” (emphasis added). In this case, the Court has already granted Defendant
Brandon Putman’s unopposed motion for disclosure of grand jury transcripts. For largely the same reasons justifying
the disclosure to Defendant, a limited public disclosure of the above-quoted material is justified. Many of the policy
considerations for the grand jury secrecy requirement are no longer implicated. An indictment has been issued, so
there is no danger of informing an individual that they are being investigated by a grand jury. Grand jury
proceedings have also ceased, so there is no danger of interference with deliberations, potential witnesses, or
potential evidence. The above-quoted material is necessary for a reader to understand the factual justification for
joining the two cases. The public has an interest in access to the information relied upon by the Court in reaching a
decision on the joinder motion. The same analysis applies to the portion quoted in the Court’s previous order
directing supplemental briefing, issued August 29, 2018. Because there does not appear to be any reason to disclose
the remainder of the transcripts, however, they will remain sealed but will be attached for the parties’ reference.
                                                        -6-
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possessing. ATF tested the AR–15 (apparently with the same auto–sear Brandon is charged with

possessing), and it fit perfectly on the AR–15. This not only establishes a strong factual nexus

between the two cases, but also appears to contradict the government’s initial assertion that “the

drop–in auto sear that is the basis of the charges against Brandon Putman was not used to convert

into a machinegun the AR–15 that is the basis of the charge against William Putman.”

        These facts justify joinder, particularly considering the communal living arrangement,

William and Brandon’s participation in the family business, and the contention that Brandon

sought the DIAS copies for a family business. Moreover, the government now states that a joint

trial will be “acceptable” if the Bruton issue is waived.

                                                 B.

        The government’s opposition to joinder has been based in large part on its contention that

a Bruton issue might arise. In response to the motion for joinder, the government explained that

it intends to offer “a statement” made by William Putman regarding the AR–15 to establish an

element of his offense. The statement would be considered non–hearsay under Federal Rule of

Evidence 801(d)(2) when offered against William. Brandon, on the other hand, would likely

have a valid hearsay objection to the statement being admitted against him. In Bruton, during a

joint trial, the trial court admitted a non-testifying co–defendant’s confession which implicated

both Defendants. Bruton v. United States, 391 U.S. 123 (1968). The trial court instructed the jury

that the statement could only be used against the Defendant who made the statement, and that it

must be disregarded as to the co–defendant. Id. The Supreme Court held that the admission of

the co–defendant’s statement was prejudicial error, and that a limiting instruction cannot cure the

error. Id.




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       After the initial hearing on Defendants’ motion for joinder, a great deal of effort was

expended to identify the precise statement the government intended to introduce at trial. The

government has now specified that the statement at issue is memorialized in Agent Jakubowski’s

investigation report, and reads as follows:

       Mr. Putman stated that his son Brandon was the person in the family that
       “tinkers” with firearms and that he would be able to answer all of the gun
       questions. When asked about an AR–15 rifle that was retrieved from one of the
       upstairs bedrooms, he stated that he would not know anything specific about an
       AR–15 but that was a gift from Brandon. Mr. Putman reiterated that Brandon was
       the person in the family that handled all of the guns.

Ex. 1 at pg. 35. This statement has some tendency to inculpate Brandon as it speaks to his

practice of “tinkering” with guns generally, which has some relevance to the crime for which he

is accused (though “tinkering” is consistent with lawful behavior as well). Nevertheless, as both

parties acknowledge, the Bruton issue is waivable. See United States v. Galeano, No. 91 CR 223

(JSM), 1993 WL 177853, at *3 (S.D.N.Y. May 17, 1993), aff’d, 50 F.3d 2 (2d Cir. 1995). Based

on the discussion during the July 30 hearing, it appears that Defendant Brandon Putman intends

to waive his Bruton objection to the above statement, while preserving his right to object to its

admission on other grounds. Before joinder will be permitted, Brandon will be directed to file a

written waiver of any Bruton objection to William’s statement memorialized in Agent

Jakubowski’s report. The waiver should explain the nature of the Bruton objection and why he

chose to waive the objection. A hearing will also be held and Defendant Brandon Putman will be

questioned on the record regarding the waiver.

       In its supplemental briefing, the government identified two additional statements made by

William Putman that may give rise to a Bruton problem: “in April of 2018, William Putman, II,

volunteered the information that Brandon Putman was trying to have multiple copies of a drop in

auto sear made for a family business venture.” Pl. Br. at 2, ECF No. 22 (case no. 18-20242). “At
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some point, William Putman, II apparently also said something to the effect that he was unsure

how Brandon Putman would have the money to pay for the copies of the auto sear because

expenditures had to be approved by the family.” Id. 4, n. 3.

       The parties engaged in extensive discussion on the record addressing whether they

believe the statements to be inculpatory to the Defendants. However, Counsel for the

government ultimately stated on the record that her intention is to offer the statements about the

auto-sear against Brandon, not William, because the statements are not relevant to the case

against William. Therefore, there is no apparent predicate for the admission of those statements,

even if the cases remained separate. Accordingly, there is no reason to ask Brandon to waive an

objection to the statements.

                                                II.

       Defendants have also filed two motions concerning the silencers: a motion for return of

property, and a motion in limine.

                                                A.

       Defendants request the return of “six silencers that had been registered to the business”

which ATF agents seized during a consent search of the business on February 15, 2018. Federal

Rule of Criminal Procedure 41(g) provides that: “A person aggrieved by an unlawful search and

seizure of property or by the deprivation of property may move for the property’s return.”

       First, there is no reason to believe the search of the business was unlawful. Defendants

emphasize that the February 14 search warrant did not authorize a search for, or seizure of,

silencers. However, the scope of the search warrant for the former Putman residence has little

relevance to the search of the business where the silencers were seized. The search of the

business was not conducted pursuant to the warrant; rather it was conducted pursuant to the

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consent of William and Kacie Putman. Ex. 1 at pg. 59. Defendants do not argue that the search

went beyond the scope of that consent.

        As for the seizure, however, it is not apparent that the government had a legitimate reason

to seize or retain the silencers. When the government has a “continuing interest” in the property,

the property does not have to be returned. United States v. Popham, 382 F. Supp. 2d 942, 956

(E.D. Mich. 2005), aff'd, 250 F. App'x 170 (6th Cir. 2005). The government can demonstrate a

continuing interest by showing that the property is contraband or necessary for an ongoing

investigation. Id.

        According to Agent Jakubowski’s report, these silencers were “registered to the business

but had not been entered into the bound books until that day.” Ex. 1 at pg. 36.7 During the Sept. 6

hearing, however, it appeared that Agent Jakubowski’s report may not be entirely complete. The

silencers were registered in the National Firearms Registry to the third–party purchaser, an

individual. The silencers were also registered in the National Firearms Registry to the original

vendor, an FFL business located out of state. The silencers were to be delivered to the third party

purchaser locally in Michigan. However, Federal Law requires that the silencers be transferred

by a local FFL transfer agent. Ephesians 610 was acting as that local transfer agent, not selling

the silencers directly. Ephesians charges a transfer fee for performing that service. In order to act

as the transfer agent, Ephesians must pay a Special Occupation Tax (SOT) and hold a

corresponding license (in addition to the FFL). Ephesians’ SOT was valid through June 2018 and

has not been renewed, though they have applied for a new SOT.

        In its response brief, the government emphasizes the requirement that silencers be

registered in the National Firearms Registration and Transfer Record. A silencer is considered

7
  Two additional silencers could not be accounted for but William Putman and Kacie Putman said they would locate
them and contact the ATF agents. Id. These silencers have since been surrendered.
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contraband if not registered to the person who possesses it. 26 U.S.C. §§ 5845(7) and 5861.

Although Ephesians SOT expired in June, it was apparently valid on February 15, 2018, the day

the silencers were seized. Furthermore, the silencers were apparently properly registered to both

the third party purchaser and the original vendor. Thus, it does not appear that there was any

anomaly or non–compliance with respect to the registration requirements.

         Rather, the agent took issue with the fact that the silencers “were not entered into the

bound books until that day.” Ex. 1 at pg. 36. It is unclear when exactly the government contends

the silencers should have been “entered into the bound books” and why the failure to do so until

February 15 was problematic. Moreover, the government does not appear to contend that the

failure to enter them “into the bound books” until February 15 renders them contraband. If this is

the government’s contention, it is unexplained and unsupported. The government vaguely asserts

that “the silencers are potentially evidence of crimes that still may be prosecuted,” but does not

explain how the failure to enter the silencers “into the bound books” constitutes a crime. Nor

does the government explain the relevance of the silencers to any ongoing investigation. Thus, to

date, the government has not offered any valid reason for the initial seizure or continued

retention of the silencers.

         Nevertheless, the present situation does not readily lend itself to a simple resolution.

Although it appears that Ephesians could have lawfully acted as the transfer agent prior to June

30, 2018, its SOT has now lapsed. Thus, as a practical matter, it appears that Ephesians cannot

legally take possession of the silencers at this point in order to effectuate the transfer of the

silencers to the third party purchaser. Nor can the government transfer physical possession of the

silencers directly to the third party, as the transfer must be accomplished by a licensed transfer

agent.

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           Accordingly, Defendants now ask the Court to simply direct the government to facilitate

the transfer to the rightful owner “in accordance with law.” Even assuming such an order would

create any obligation on the part of the government that did not already exists, there is a bigger

problem with the request. Specifically, Defendants have not established that they are aggrieved

parties. Although rule 41(g) does not provide guidance on whether a party is considered

“aggrieved,” the Sixth Circuit instructs courts to “balance the legitimate needs of the United

States against the property rights of the moving party.” United States v. Francis, 646 F.2d 251,

263 (6th Cir. 1982)). It seems that the only harm Ephesians sustained, if any, as a result of the

seizure of the silencers is that it lost its opportunity to perform the transfer service and collect the

transfer fee. It can no longer do so, however, because its SOT has lapsed. Thus, Defendants lack

standing to seek the return of the property on behalf of the purchaser. Accordingly, the motion

for return of property will be denied.8

                                                           B.

           Defendants also seek to preclude the government from introducing any evidence

regarding silencers. Evidence is admissible if it is relevant and not precluded from admission by

another evidentiary rule. Rule 401 provides that evidence is relevant if 1) “it has any tendency to

make a fact more or less probable than it would be without the evidence and 2) the fact is of

consequence in determining the action.” Fed. R. Evid. 401. Even if relevant, Rule 403 provides

that a court may exclude it if “its probative value is substantially outweighed” by the danger of

“unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.” Fed. R. Evid. 403.




8
    If and when the new SOT application is approved, Defendants are free to file another motion for return of property.
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       First, some clarification is in order regarding the identity of the silencers. A total of 11

silencers are at issue. Six silencers (discussed above) were seized from the business on February

15, and belong to a third party purchaser. These six silencers are in the government’s possession,

and are the subject of Defendants’ motion for return of property. Two additional silencers were

also registered to the business. William could not locate them on the day of the search of the

business, but they were subsequently provided to the government. Defendants do not seek their

return. Three additional silencers were registered to William Putman individually. The

government did not seize them, and has apparently never seen them. All the government

apparently knows about them is that they are registered in the National Firearms Registry to

William Putman and, according to an ATF Agent, they are the right caliber to fit an AR–15.

These silencers are apparently being kept under lock and key in the custody of an un-indicted

Putman family member. Pursuant to the Court’s order setting conditions of pre-trial release,

Defendants divested themselves of all firearms, including the three silencers, and pre–trial

services apparently approved of them being kept in the family member’s custody.

       Defendant William Putman contends that the existence of any of the aforementioned

silencers has no relevance to whether he knowingly possessed an automatic weapon. The

government responds that, with respect to the silencers registered to the business, they have no

intention of offering them into evidence in their case–in–chief against William Putman. And, due

to the lack of any apparent relevance of those silencers to the elements of his offense, the

government will be precluded from doing so. It is unclear as of yet, however, what relevance that

evidence might have for impeachment or rebuttal purposes. Accordingly, those alternative uses

will not be precluded.




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        With respect to the three other silencers registered to William Putman individually, the

government does intend to offer these into evidence during its case in chief. The government

does not contend that his possession of these silencers was criminal or wrongful; to the contrary,

the government acknowledges that his possession of these silencers was lawful. Nevertheless, the

government contends that, because these silencers could be used to mask the sound of an

automatic weapon and help evade detection, his possession of these silencers is relevant evidence

for the jury to consider when determining whether he knew his AR–15 could function

automatically.

        The government explains as follows: “. . . William Putman’s residence was located on

acreage in a rural area. As a practical matter, as well as a matter of law, William Putman did not

need to muffle the sound of a legally configured AR–15 rifle in such a rural setting.” Resp. at 4,

ECF No. 19 (case no. 18-20242). This explanation is not particularly persuasive. If his property

was so remote that he would not need to muffle gunfire from lawful weapons, it would seem that

he would not need to muffle gunfire from unlawful weapons either.

        Moreover, silencers have a variety of lawful uses which have nothing to do with evading

detection, such as protecting one’s own ears. Although the silencers have some relevance to

William’s mens rea, the relevance is minimal absent evidence connecting the silencers to the

AR–15 he is charged with possessing. The government has not yet identified such evidence, but

indicates that such evidence may be forthcoming in the form of an affidavit of an ATF Agent.

Defendants indicated they would like a chance to respond once they receive such an affidavit.9

Accordingly, the Court will defer ruling on this issue.


9
  Defendants are of the opinion that the silencers do not fit the AR-15, and would like to have an expert perform a
test to confirm that. They also would like to test fire-the AR-15 to determine if it fires automatically. There was
some disagreement between the parties as to whether this test would have to take place in West Virginia, where the
AR-15 is being held, or whether it can take place in Flint.
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         The government will be directed to produce the affidavit to the Court and to opposing

counsel within 14 days of the entry of this order.10 Defendants will be directed to respond within

14 days of the government’s filing. Additionally, the government has not responded to Brandon

Putman’s motion in limine, and will be ordered to do so within 14 days.

                                                        III.

         Accordingly, it is ORDERED that the motion for return of property, ECF No. 15, is

DENIED without prejudice.

         It is further ORDERED that the motion for joinder, ECF No 10, and the motion in

limine, ECF No. 16, is taken under advisement.

         It is further ORDERED that the government is DIRECTED to file a response to

Brandon Putman’s motion in limine by September 25, 2018.

         It is further ORDERED that the government is DIRECTED to file its affidavit in

support of its response to the motions in limine by September 25, 2018, and Defendant is

DIRECTED to file its reply by October 2, 2018.

         It is further ORDERED that, as a condition of joining the cases, Defendant Brandon

Putman is DIRECTED to file a written waiver of his Bruton objection to the statement in

question, as set forth above, by September 25, 2018.

         It is further ORDERED that the parties are directed to review sealed exhibits 1 and 2 and

inform the Court by September 25, 2018 of any proposed redactions or if they believe the

exhibits should remain sealed. Otherwise, the exhibits will be made public. 11


10
   To the extent the government’s intention is to produce this affidavit ex parte for the court’s review, it should be
accompanied by an explanation as to the justification for submitting it ex parte.
11
   The exhibits already contain some redactions, which in some instances appear to be the identities of unindicted
family members. However, the names of other unindicted family members are un-redacted, as well as street
addresses and phone numbers, among other things. If Defendants believe these redactions are insufficient, they
should submit a copy of the exhibit containing the proposed redactions.
                                                       - 15 -
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       It is further ORDERED that the Clerk of the Court shall separately file exhibits 1, 2, 3 &

4 under seal until further order of this Court.

                                                                             s/Thomas L. Ludington
                                                                             THOMAS L. LUDINGTON
                                                                             United States District Judge
Dated: September 11, 2018


                                                      PROOF OF SERVICE

                             The undersigned certifies that a copy of the foregoing order was served
                             upon each attorney or party of record herein by electronic means or first
                             class U.S. mail on September 11, 2018. The undersigned also certifies
                             that a copy of exhibits 1, 2, 3, & 4 were served upon each attorney of
                             record by U.S. Mail on September 11, 2018.

                                                               s/Kelly Winslow
                                                               KELLY WINSLOW, Case Manager




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